United States Bankruptcy Court
District of Oregon
Inre —_ Sortis Holdings, Inc. CaseNo.  24-33149-7

Debtor(s) Chapter 7

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for GEC Fellow Barber Fund | LP in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

@ None [Check if applicable]

11/13/2024 Is! Douglas R. Pahl
Date Douglas R. Pahl

Signature of Attorney or Litigant

Counsel for GEC Fellow Barber Fund! LP
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Case 24-33149-thop7 Doc3 _ Filed 11/13/24
